 Case 17-10941-jkf            Doc 118    Filed 04/30/19 Entered 05/01/19 09:53:11                      Desc Main
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                                        UNITED STATES DISTRICT COURT
                                           Eastern District of Pennsylvania
                                             United States Courthouse
                                            601 Market Street, Room 2609
                                            Philadelphia, PA 19106-1797

            Kate Barkman                                                                         Clerk’s Ofﬁce
            Clerk of Court                                                                       215-597—7704


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Timothy McGrath
Clerk
US. Bankruptcy Court
900 Market Street
Suite 400
Philadelphia,     PA 19107-4299


                                 RE:    MICHAEL K. PEARSON
                                        CA No. 2:18-CV-2854-JS
                                        Bky. No. 17-10941

Dear Mr. McGra’rh:


      Enclosed herewith is an electronic copy of the Order remanding and / or returning your record,
which was filed in this office on 3/ 29/19.

       Kindly acknowledge receipt on the copy of letter provided.

                                                                     Sincerely,

                                                                     Kate Barkman
                                                                     Clerk of Court


                                                                     By:     s / Nicole Durso          A
                                                                           Nicole Durso, Deputy Cler    /
Received above record        thisﬁr’ say of pzﬂigﬂiq

                                                                              (Signature)
bankrec.frm
